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                                            U.S. Department of Justice

                                                       United States Attorney
                                                       Southern District of New York

                                                       The Silvio J. Mollo Building
                                                       One Saint Andrew’s Plaza
                                                       New York, New York 10007



                                                        February 26, 2021


BY ELECTRONIC MAIL


The Honorable Jed S. Rakoff
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007


         Re:     United States v. James Patterson
                 S4 20 Cr. 188 (JSR)


Dear Judge Rakoff:

       The Government writes regarding an error in the cooperation agreement (the “Original
Agreement”) to which defendant James Patterson pled guilty on February 19, 2021, in the above-
captioned case. The Original Agreement contains the following erroneous forfeiture-related
provision: “The defendant consents to the entry of the Consent Order of Forfeiture annexed hereto
as Exhibit A and agrees that the Consent Order of Forfeiture shall be final as to the defendant at
the time it is ordered by the Court.” While the defendant indeed admitted as part of the Original
Agreement to “forfeit to the United States . . . a sum of money in United States currency,
representing the amount of proceeds traceable to the commission [of Count One of the
Information],” there was in fact no consent order of forfeiture attached as an exhibit to the Original
Agreement, and thus no agreement between the parties as to any such order.

        A revised version of the Agreement (the “Revised Agreement”), in which the erroneous
provision is crossed out and initialed by the parties, is attached here as Exhibit 1. 1 The parties
understand the Revised Agreement to be the operative agreement between the Government and
the defendant. Because the Court appropriately allocated the defendant as to his admission to the
forfeiture allegation with respect to Count One of the Information during the plea colloquy on




1   The parties respectfully request that Exhibit 1 be filed under seal.
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Letter to Honorable Jed S. Rakoff
February 26, 2021


February 19, 2021, 2 the parties agree that no further allocution on the Revised Agreement is
required.


                                                  Respectfully submitted,

                                                  AUDREY STRAUSS
                                                  United States Attorney


                                           By:        /s/
                                                  Christopher DiMase / Emily Deininger /
                                                  Nicholas Folly / Tara La Morte
                                                  Assistant United States Attorneys
                                                  (212) 637-2433 / -2472 / -1060 / -1041


cc:    Emily Schulman, Esq.




2 See February 19, 2021 plea transcript at page 13, lines 23-25 (THE COURT: “As part of this
agreement, you’ve also agreed to a forfeiture; is that correct?” THE DEFENDANT: “Yes, your
Honor.”).


                                             2
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     EXHIBIT 1
(FILED UNDER SEAL)
